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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

                                                  )
LILIAN PAHOLA CALDERON JIMENEZ                    )
and LUIS GORDILLO, et al.,                        )
                                                  )
Individually and on behalf of all others          )
similarly situated,                               )
                                                  )   No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,           )
                                                  )
       v.                                         )
                                                  )
KIRSTJEN M. NIELSEN, et al.,                      )
                                                  )
                Defendants-Respondents.           )
                                                  )

                                      JOINT REPORT

       This Court has ordered the parties to confer and report, by May 28, 2019,

regarding: (1) whether they have agreed to settle this case or to request jointly that it be

stayed; (2) whether the parties request more time to confer; (3) whether notice should be

directed to class members under Federal Rule of Civil Procedure 23(c)(2)(A) and, if so,

how; and (4) the nature of the limited discovery to be conducted by July 31, 2019. Dkt.

No. 253. The parties have met and conferred on these issues. They respectfully request

more time to complete their discussions and to report on their respective positions by

May 31, 2019.

            Respectfully submitted this 28th day of May, 2019.




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